 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.1 Filed 04/23/25 Page 1 of 15




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION
                               ___________________

JENNIFER ANDREWS,

             Plaintiff,
      v.
NASCAR ENTERPRISES LLC,
MICHIGAN INTERNATIONAL
SPEEDWAY LLC, and JERRY
POLLARD,

             Defendants.                         JURY TRIAL DEMANDED

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                                COMPLAINT

      Plaintiff Jennifer Andrews alleges the following for her complaint against

Defendants NASCAR Enterprises LLC, Michigan International Speedway LLC,

and Jerry Pollard.

                               NATURE OF THE CASE
      1.     This is an employment case involving sexual harassment.

      2.     Plaintiff Jennifer Andrews worked for Defendants Michigan Interna-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.2 Filed 04/23/25 Page 2 of 15




tional Speedway LLC (MIS) and NASCAR Enterprises LLC where her direct su-

pervisor and manager, Defendant Jerry Pollard, pressured and coerced Andrews

into flirting with him and exchanging sexualized pictures with him.

        3.   If Andrews did not flirt with Pollard, then he punished her with worse

job assignments, acted hostile toward her and treated her poorly, and threatened her

job security. However, Pollard’s attitude toward Andrews improved dramatically

when she showed him even the slightest interest. He promised her better shifts,

better hours, and a promotion to a better job.

        4.   Accordingly, Andrews eventually relented and acquiesced to Pollard’s

advances where she flirted with him and then exchanged sexualized pictures with

him.

        5.   Andrews, however, later decided to stop flirting with Pollard and re-

fused to exchange sexualized pictures with him. She could not tolerate it any

more.

        6.   Pollard fired Andrews the next day.

        7.   Defendants’ conduct violates Title VII of the Civil Rights Act of 1964,

Michigan’s Elliott-Larsen Civil Rights Act, and gives rise to a cause of action un-

der Michigan’s common law.

        8.   Andrews suffered damages as a result of Defendants’ statutory viola-

tions and their wrongful conduct that include, but are not limited to, back wages,


                                        -2-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.3 Filed 04/23/25 Page 3 of 15




frontpay, compensatory damages (including emotional distress), attorney’s fees,

and litigation costs.

                        PARTIES, JURISDICTION, AND VENUE
      9.      Plaintiff Jennifer Andrews is an individual person who resides in

Fulton County, Ohio.

      10.     Defendant NASCAR Enterprises is a limited liability company orga-

nized under the laws of the State of Delaware. The company owns an automobile

racetrack facility located in Jackson County, Michigan.

      11.     Defendant Michigan International Speedway is a limited liability

company organized under the laws of the State of Michigan. The company oper-

ates an automobile racetrack facility located in Jackson County, Michigan.

      12.     Defendant Jerry Pollard is an individual person that NASCAR and

MIS employed as a manager at its racing facility. Pollard resides in Jackson

County, Michigan.

      13.     The Court has personal jurisdiction over Defendants under Michigan

Compiled Laws Sections 600.701, 600.705, 600.711, and 600.715. FED. R. CIV. P.

4(k)(1)(A).

      14.     The Court has original subject matter jurisdiction over the claims as-

serted in the complaint under Title VII of the Civil Rights Act of 1964 in accor-

dance with Title 28 of the United States Code, Section 1331, because those claims


                                        -3-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.4 Filed 04/23/25 Page 4 of 15




arise under federal law. Title VII also independently provides for subject matter ju-

risdiction in the federal courts. 42 U.S.C. § 2000e–5(f)(3).

      15.    The Court has supplemental jurisdiction over the state law claims as-

serted in the complaint in accordance with Title 28 of the United States Code, Sec-

tion 1367, because those claims are so related to the claims over which the Court

has original jurisdiction that they form part of the same case and controversy.

      16.    Venue is appropriate in this judicial district in accordance with Title

28 of the United States Code, Section 1391(b).

                            GENERAL ALLEGATIONS
      17.    Andrews worked for Defendants NASCAR and MIS as a security

guard and guest services employee from January 30, 2024 until March 5, 2024 at

the Michigan International Speedway.

      18.    Defendant Jerry Pollard directly supervised and managed Andrews’

employment.

      19.    Shortly into Andrews’ tenure of employment with Defendants, Pollard

developed a sexual interest in Andrews and he began to flirt with her.

      20.    Andrews initially resisted Pollard’s flirtations and his sexual ad-

vances. But when she did, Pollard punished Andrews and treated her poorly and

worse than other employees.

      21.    For example, Pollard would assign Andrews to work in locations seg-


                                        -4-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.5 Filed 04/23/25 Page 5 of 15




regated from other employees, he would speak angrily toward Andrews, act in a

hostile demeanor toward her, speak negatively about her and gossip behind her

back, and nitpick her work and otherwise single her out for criticism and ridicule.

Pollard would also threaten Andrews’ job security and suggest that she would be

fired when she did not flirt with him.

      22.    Andrews saw Pollard do the same or similar things to other female

employees of Defendants that refused to flirt with him or who were otherwise dis-

missive of his sexual advances.

      23.    Andrews eventually relented and acquiesced to Pollard’s flirtations

where she would flirt with him back. And, when she did, Pollard treated Andrews

much better. He promised Andrews work on a better shift, promised her more

work hours, and promised that he would promote her into a supervisor position.

      24.    Pollard then increased and ramped up his efforts and sexual advances

toward Andrews where he pressured and coerced Andrews into sending him sexu-

alized pictures of herself (sometimes called “sexting”).

      25.    Andrews felt as though she had no choice but to send Pollard (her

boss) the sexualized pictures of herself. She knew that Pollard would treat her

poorly and that he would fire her if she refused.

      26.    Pollard, for his part, coerced, encouraged, and participated in the sex-

ting and he also sent Andrews sexualized pictures of himself.


                                         -5-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.6 Filed 04/23/25 Page 6 of 15




       27.     Andrews did not want to participate in the sexting with her boss, but

she felt like she had no other choice and had to participate or she would lose her

job.

       28.     Eventually, Andrews could not tolerate Pollard’s demands for sexting

any further.

       29.     Andrews told Pollard that she would no longer participate in the sex-

ting and decided to “unfriend” him on the social media platform, Facebook.

       30.     Andrews also refused to attend a private meeting outside of work

hours that Pollard had arranged for Andrews and himself where Pollard claimed he

needed to review Andrews’ tax forms (about which he has no expertise), and which

was an obvious ruse that Pollard had concocted to create as an opportunity for him-

self to further prey upon Andrews.

       31.     The next day after Andrews told Pollard that she would not engage in

sexting with him anymore, unfriended him on Facebook, and refused to attend Pol-

lards’ private “tax form” meeting, Pollard promptly fired Andrews.

       32.     Andrews filed a charge of discrimination and has otherwise satisfied

all administrative prerequisites to filing her causes of action.




                                          -6-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.7 Filed 04/23/25 Page 7 of 15




                                     COUNT 1
                     SEXUAL HARASSMENT IN VIOLATION OF
                  TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                           (against NASCAR and MIS)
        33.   Andrews repeats and incorporates all the previous allegations in her

complaint. This count in the complaint proceeds against NASCAR and MIS.

        34.   Andrews was subjected to communications and conduct based on her

sex and gender.

        35.   The communications and conduct were hostile and unwelcome.

        36.   Andrews was subjected to a hostile work environment and otherwise

treated differently than other employees because of her sex and gender.

        37.   Pollard used his authority over Andrews as her boss to coerce her into

sharing sexualized photos and information with him in exchange for better treat-

ment at work, and the promise of better shifts, more hours, and a supervisor posi-

tion.

        38.   Defendants were legally responsible for the work environment that

was hostile and discriminatory toward Andrews because of her sex and gender.

        39.   The hostile and discriminatory work environment Andrews endured

was so severe and pervasive so as to alter the terms and conditions of her employ-

ment by creating a hostile and abusive working environment.

        40.   The work environment was also sexually transactional where Pollard



                                        -7-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.8 Filed 04/23/25 Page 8 of 15




used his position of power and authority to condition certain terms and conditions

of employment and to threaten job loss based on the acceptance of his sexual ad-

vances.

      41.    Defendants knew about the conduct Andrews was subjected to, ac-

tively encouraged and created it (through Pollard’s actions), and failed to imple-

ment reasonably prompt and appropriate corrective actions to end the harassment.

      42.    Andrews suffered damages as a result of Defendants’ violations of Ti-

tle VII of the Civil Rights Act of 1964, that include, but are not limited to, back

wages, frontpay, compensatory damages (including emotional distress), attorney’s

fees, and litigation costs.

                                    COUNT 2
                        DISCRIMINATION IN VIOLATION OF
                   TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                            (against NASCAR and MIS)
      43.    Andrews repeats and incorporates all the previous allegations in her

complaint. This count in the complaint proceeds against NASCAR and MIS.

      44.    Defendants subjected Andrews to different terms and conditions of

employment in comparison to male employees.

      45.    Defendants discharged and terminated Andrews’ employment.

      46.    Andrews’ sex and gender were motivating factors in Defendants’ deci-

sion to treat her differently in connection with the terms and conditions of her em-



                                       -8-
 Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.9 Filed 04/23/25 Page 9 of 15




ployment and in connection with her discharge.

      47.    Andrews suffered damages as a result of Defendants’ violations of Ti-

tle VII of the Civil Rights Act of 1964, that include, but are not limited to, back

wages, frontpay, compensatory damages (including emotional distress), attorney’s

fees, and litigation costs.

                                     COUNT 3
                         RETALIATION IN VIOLATION OF
                   TITLE VII OF THE CIVIL RIGHTS ACT OF 1964
                            (against NASCAR and MIS)
      48.    Andrews repeats and incorporates all the previous allegations in her

complaint. This count in the complaint proceeds against NASCAR and MIS.

      49.    Andrews engaged in activity protected by Title VII of the Civil Rights

Act of 1964 when she opposed the unlawful, abusive, and inappropriate conduct

that she encountered in Defendants’ workplace.

      50.    Defendants knew about Andrews’ protected activity.

      51.    Defendants took an adverse employment action against Andrews

when it terminated her employment.

      52.    Defendants would not have terminated Andrews’ employment but for

her protected activity.

      53.    Andrews suffered damages because of Defendants’ retaliation that in-

clude, but are not limited to, lost wages and benefits, emotional distress, attorney’s



                                        -9-
Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.10 Filed 04/23/25 Page 10 of 15




fees, and litigation costs.

                                     COUNT 4
                    SEXUAL HARASSMENT IN VIOLATION OF
                MICHIGAN’S ELLIOTT-LARSEN CIVIL RIGHTS ACT
                      (against NASCAR, MIS, and Pollard)
        54.   Andrews repeats and incorporates all the previous allegations in her

complaint. This count in the complaint proceeds against NASCAR, MIS, and Pol-

lard.

        55.   Andrews was subjected to communications and conduct based on her

sex and gender.

        56.   The communications and conduct were hostile and unwelcome.

        57.   Andrews was subjected to a hostile work environment and otherwise

treated differently than other employees because of her sex and gender.

        58.   Pollard used his authority over Andrews as her boss to coerce her into

sharing sexualized photos and information with him in exchange for better treat-

ment at work, and the promise of better shifts, more hours, and a supervisor posi-

tion.

        59.   Defendants were legally responsible for the work environment that

was hostile and discriminatory toward Andrews because of her sex and gender.

        60.   The hostile and discriminatory work environment Andrews endured

was so severe and pervasive so as to alter the terms and conditions of her employ-



                                       - 10 -
Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.11 Filed 04/23/25 Page 11 of 15




ment by creating a hostile and abusive working environment.

        61.   The work environment was also sexually transactional where Pollard

used his position of power and authority to condition certain terms and conditions

of employment and to threaten job loss based on the acceptance of his sexual ad-

vances.

        62.   Defendants knew about the conduct Andrews was subjected to, ac-

tively encouraged and created it (through Pollard’s actions), and failed to imple-

ment reasonably prompt and appropriate corrective actions to end the harassment.

        63.   Andrews suffered damages as a result of Defendants’ violations of

Michigan’s Elliot-Larsen Civil Rights Act, that include, but are not limited to, back

wages, frontpay, compensatory damages (including emotional distress), attorney’s

fees, and litigation costs.

                                     COUNT 5
                      DISCRIMINATION IN VIOLATION OF
                MICHIGAN’S ELLIOTT-LARSEN CIVIL RIGHTS ACT
                      (against NASCAR, MIS, and Pollard)
        64.   Andrews repeats and incorporates all the previous allegations in her

complaint. This count in the complaint proceeds against NASCAR, MIS, and Pol-

lard.

        65.   Defendants subjected Andrews to different terms and conditions of

employment in comparison to male employees.



                                       - 11 -
Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.12 Filed 04/23/25 Page 12 of 15




        66.   Defendants discharged and terminated Andrews’ employment.

        67.   Andrews’ gender and sex were one of the motives or reasons which

made a difference in Defendants’ decision to treat her differently in connection

with the terms and conditions of her employment and in connection with her dis-

charge.

        68.   Andrews suffered damages as a result of Defendants’ violations of

Michigan’s Elliott-Larsen Civil Rights Act, that include, but are not limited to,

back wages, frontpay, compensatory damages (including emotional distress),

attorney’s fees, and litigation costs.

                                         COUNT 6
                   RETALIATION IN VIOLATION OF MICHIGAN’S
                      ELLIOTT-LARSEN CIVIL RIGHTS ACT
                      (against NASCAR, MIS, and Pollard)
        69.   Andrews repeats and incorporates all the previous allegations in her

complaint. This count in the complaint proceeds against NASCAR, MIS, and Pol-

lard.

        70.   Andrews engaged in activity protected by the Elliott-Larsen Civil

Rights Act when she opposed the unlawful, abusive, and inappropriate conduct that

she encountered in Defendants’ workplace.

        71.   Defendants knew about Andrews’ protected activity.

        72.   Defendants took an adverse employment action against Andrews



                                          - 12 -
Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.13 Filed 04/23/25 Page 13 of 15




when they terminated her employment.

         73.   There was a causal connection between Andrews’ protected activities

and the termination of her employment.

         74.   Andrews suffered damages because of Defendants’ retaliation that

include, but are not limited to, lost wages and benefits, emotional distress,

attorney’s fees, and litigation costs.

                                         COUNT 7
                     NEGLIGENT RETENTION OF EMPLOYMENT
                           (against NASCAR and MIS)
         75.   Andrews repeats and incorporates all the previous allegations in her

complaint. This count in the complaint proceeds against NASCAR and MIS.

         76.   Defendants owed Andrews a duty of reasonable care to maintain a

safe working environment.

         77.   Defendants breached that duty by retaining Pollard’s employment af-

ter it knew that he had a propensity and likelihood to sexually harass, abuse, and

injure women in Defendants’ workplace, such as Andrews.

         78.   Defendants knew that Pollard had previously engaged in sexual harass-

ment and that he had previously abused other female employees at Defendants’ work-

place before having done so to Andrews.

         79.   Pollard caused harm and injuries to Andrews at Defendants’ work-

place.

                                          - 13 -
Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.14 Filed 04/23/25 Page 14 of 15




       80.    Defendants’ negligence was the direct and proximate cause of An-

drews’ injuries.

       81.    Andrews suffered damages because of Defendants’ negligence in re-

taining Pollard’s employment that include, but are not limited to, pain and suffer-

ing, emotional distress, attorney’s fees, and litigation costs.

                                    JURY DEMAND
       82.    Andrews demands a trial by jury on all issues so triable. FED. R. CIV.

P. 38(b).

                                 RELIEF REQUESTED
       83.    Plaintiff Jennifer Andrews requests that the Court enter a judgment in

her favor and against Defendants NASCAR Enterprises LLC, Michigan Interna-

tional Speedway LLC, and Jerry Pollard in an amount that will fully and fairly

compensate her for all of her damages, losses, expenses, back wages, emotional

distress, attorney’s fees, litigation costs, and interest.

       84.    Andrews also requests that the court grant her any additional relief,

both legal and equitable, as the Court determines to be appropriate and just under

the circumstances.




                                           - 14 -
Case 2:25-cv-11169-FKB-EAS ECF No. 1, PageID.15 Filed 04/23/25 Page 15 of 15




                                            JENNIFER ANDREWS

Dated: April 23, 2025                  By: /s/ Mark S. Wilkinson
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                                   - 15 -
